868 F.2d 1277
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Thomas M. EGAN, Petitioner,v.DEPARTMENT OF the NAVY, Respondent.
    No. 86-579.
    United States Court of Appeals, Federal Circuit.
    March 29, 1988.
    ORDER
    
      1
      The Supreme Court having reversed the judgment of this court, it is
    
    
      2
      ORDERED that the judgment entered on October 1, 1986, and the mandate issued on December 3, 1986, are withdrawn and recalled, and it is
    
    
      3
      FURTHER ORDERED that the decision of the Merit Systems Protection Board is affirmed.
    
    
      4
      cc:  William J. Nold, Esq.
    
    
      5
      Robert A. Reutershan, Esq.
    
    
      6
      Stuart A. Karsch, Esq.
    
    MSPB
    